985 F.2d 582
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.WANG LABORATORIES, INC., Plaintiff-Appellee,v.CFR ASSOCIATES, INC., Defendant-Appellant.
    No. 92-1359.
    United States Court of Appeals, Federal Circuit.
    Nov. 18, 1992.
    
      1
      APPEAL DISMISSED.
    
    ORDER
    
      2
      The bankruptcy stay provisions of 11 U.S.C. 362 having become applicable,
    
    IT IS ORDERED THAT:
    
      3
      The appeal is dismissed without prejudice to the appellant reinstating the appeal by notice to the clerk within 30 days after the stay is lifted or the bankruptcy proceedings are concluded.   Fed.Cir.R. 47.12.
    
    